 Case 3:16-cv-02774-MMA-MDD Document 3 Filed 03/02/17 PageID.15 Page 1 of 1




                                                   DECLARATION OF SERVICE
UNITED STATES DISTRICT COURT - SOUTHERN DISTRICT OF                          CASE NO:            16CV2774-MMA-MDD
CALIFORNIA
STATE OF                                                                     COURT DATE:
County of                                                                    COURT TIME:         00:00:00
PLAINTIFF:                                                                   DEFENDANTS:
LUMINENCE, LLC                                                               DR. DISCOUNT M.D. LLC
                                                                             5031 E SLEEPY RANCH RD
                                                                             CAVE CREEK, AZ 85331



The declarant, being duly sworn, states: I am fully qualified under Rule 4(d) Ariz.R.Civ.P. to serve process in this action, having been so
appointed by the court; I received and served the following documents in the manner described below:

DOCUMENT TYPE:                            2 SETS OF THE FOLLOWING DOCUMENTS: SUMMONS IN A CIVIL ACTION; PROOF
                                          OF SERVICE; REPORT ON THE FILING OR DETERMINATION OF AN ACTION OR
                                          APPEAL REGARDING A COPYRIGHT; COMPLAINT, JURY DEMAND; $25.00 CHECK
                                          PAYABLE TO THE ARIZONA CORPORATION COMMISSION
PERSON(S) SERVED:                         DR. DISCOUNT M.D. LLC (Defendant)
PLACE OF SERVICE:                         USUAL PLACE OF BUSINESS
                                          1200 W. WASHINGTON
                                          PHOENIX, AZ 85007
By delivering 2 SET(S) true copies to: MARY LEE, CLERK WITH AZ CORPORATION COMMISSION




Notes: MARY LEE IS A CLERK AUTHORIZED TO ACCEPT SERVICE ON THE BEHALF OF THE ARIZONA CORPORATION
COMMISSION.

FILE #:                                   143335
REF #:                                    2016009359 paid, 2ND ROUND
                                          OF ATTEMPTS
DATE OF SERVICE:                          3/1/2017
TIME OF SERVICE:                          14:48:00
Next Action:                              No Further Action
I declare under penalty of perjury that the foregoing is true and correct.
Signed on the 2nd day of March, 2017
                                                                                        FEES:    $75.00     Service Fee
                                                                                                 $75.00     Total




                               DECLARANT'S SIGNATURE
                                         Tom Zollars
Process server licensed in Maricopa County




                                                       SUPERIOR PROCESS SERVICES, INC.
                                                           7701 E. Indian School Suite E
                                                            Scottsdale, Arizona 85251
                                                                 (480) 429-6886
